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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE



  UNITED STATES OF AMERICA                                                              PLAINTIFF

  VS.                                      CRIMINAL ACTION NUMBER: 3:05CR-121-CRS

  HENRY GAINEY - 03                                                                   DEFENDANT



                         REPORT AND RECOMMENDATION
                    CONCERNING PLEA OF GUILTY IN FELONY CASE




         This matter has been referred to Magistrate Judge James D. Moyer by the District Court for

  the purpose of conducting proceedings pursuant to Fed.R.Crim.P. 11. The proceedings were

  recorded by Dena Legg, Official Court Reporter. The Defendant, by consent, and with Richard H.

  Nash, III, retained counsel, appeared before me on November 8, 2010, and entered a plea of guilty

  as to Count 1 of the Indictment, and acknowledged and agreed to the forfeiture in Count 2 of the

  Indictment. The defendant entered the plea of guilty pursuant to a Rule 11 (c)(1)(B) plea agreement.

  A supplemental plea agreement was also filed with the Court under seal.

         After cautioning and examining the Defendant under oath concerning each of the subjects

  mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary as to

  Count 1 of the Indictment, and that the offense charged was supported by an independent basis in

  fact concerning each of the essential elements of such an offense. I therefore recommend that the

  plea of guilty be accepted, and that the Defendant be adjudged guilty and have a sentence imposed

  accordingly.   The defendant shall have fourteen (14) days to file any objections to this
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  recommendation pursuant to F.R.C.P. 72(b), or waive the opportunity to do so.

           The defendant shall remain under the terms and conditions of his present bond pending

  sentencing before the District Court.

           This 9th day of November, 2010.




                                          November 15, 2010



  Copies to:
  United States Attorney
  Counsel for Defendant
  United States Marshal
  United States Probation

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